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 8                                   UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   LISA MOORE, et al.,                             No. 2:14-cv-656-JAM-KJN
12                     Plaintiffs,
13          v.                                       ORDER
14   CITY OF VALLEJO, et al.,
15                     Defendants.
16

17          On March 11, 2014, the instant action was removed to this court from the Solano County

18   Superior Court. (ECF No. 2.) Because it appeared from the papers attached to the notice of

19   removal that plaintiffs Lisa Moore and Eugene Moore were proceeding without counsel, the

20   action was referred to the undersigned pursuant to E.D. Cal. L.R. 302(c)(21).

21          Thereafter, on March 18, 2014, defendants City of Vallejo and Vallejo Police Department

22   filed a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), which was noticed

23   for hearing before the undersigned on May 8, 2014. (ECF No. 8.) Plaintiffs’ opposition or

24   statement of non-opposition to the motion pursuant to Local Rule 230 is presently due on April

25   24, 2014. However, on April 18, 2014, attorney Michael Joseph Haddad of the law firm Haddad

26   & Sherwin filed a notice of appearance, indicating that Mr. Haddad and several other attorneys

27   from his law firm would represent plaintiffs in this matter. (ECF No. 10.)

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     Case 2:14-cv-00656-JAM-KJN Document 11 Filed 04/21/14 Page 2 of 2


 1          Local Rule 302(c)(21) provides that magistrate judges shall conduct all appropriate pre-

 2   trial proceedings in “actions in which all the plaintiffs or defendants are proceeding in propria

 3   persona, including dispositive and non-dispositive motions and matters. Actions initially

 4   assigned to a Magistrate Judge under this paragraph shall be referred back to the assigned Judge if

 5   a party appearing in propria persona is later represented by an attorney in accordance with L.R.

 6   180.” E.D. Cal. L.R. 302(c)(21).

 7          In light of the appearance of counsel on plaintiffs’ behalf, and with defendants also

 8   represented by counsel, neither all the plaintiffs nor all the defendants in this action are

 9   proceeding in propria persona. Therefore, further proceedings in this action, other than discovery

10   motions and other matters appropriately referred to the undersigned under the court’s Local

11   Rules, should now be noticed before the United States District Judge assigned to this action.

12          Accordingly, IT IS HEREBY ORDERED that:

13          1. This matter, including the pending motion to dismiss (ECF No. 8) is referred to the

14              United States District Judge assigned to this action. See E.D. Cal. L.R. 302(c)(21).

15          2. All dates pending before the undersigned are VACATED. Defendants shall promptly

16              re-notice the pending motion to dismiss for hearing on an available date before the

17              assigned district judge, with briefing deadlines pursuant to Local Rule 230 to be

18              computed based on the continued hearing date.

19          3. Henceforth the caption on documents filed in this action shall be No. 2:14-cv-656

20              JAM KJN.
21          IT IS SO ORDERED.

22   Dated: April 21, 2014

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